                                                                                                              Case 2:20-cv-00470-GMS Document 88 Filed 03/23/21 Page 1 of 8



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                                                                                                           Facebook, Inc., Instagram, LLC and
                                                                                                        14 WhatsApp Inc.

                                                                                                        15
                                                                                                                                      UNITED STATES DISTRICT COURT
                                                                                                        16
                                                                                                                                               DISTRICT OF ARIZONA
                                                                                                        17
                                                                                                           Facebook, Inc., a Delaware corporation;        Case No. CV-20-470-PHX-GMS
                                                                                                        18 Instagram, LLC, a Delaware limited liability
                                                                                                           company; and WhatsApp Inc., a Delaware         PLAINTIFFS’ MOTION TO
                                                                                                        19 corporation,                                   ENFORCE LODGING OF
                                                                                                                                                          REGISTRAR’S CERTIFICATES
                                                                                                        20                       Plaintiffs,
                                                                                                                                                          (Oral Argument Requested)
                                                                                                        21         v.
                                                                                                        22 Namecheap, Inc., a Delaware corporation, and
                                                                                                           Whoisguard, Inc., a Republic of Panama
                                                                                                        23 corporation,

                                                                                                        24                       Defendants.
                                                                                                        25   AND RELATED COUNTERCLAIM.

                                                                                                        26

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                                                                                                         1          Plaintiffs Facebook, Inc., Instagram, LLC, and WhatsApp Inc. (“Plaintiffs”) move
                                                                                                         2 the Court for an order enforcing the terms of the Registrar’s Certificates (ECF Nos. 71, 81)

                                                                                                         3 lodged with the Court by Defendant Namecheap, Inc. (“Namecheap”). Despite

                                                                                                         4   Namecheap’s certification that the domain names lodged with the Court pursuant to the
                                                                                                         5   Registrar’s Certificates would remain under the dominion and control of the Court until
                                                                                                         6   the Court instructed otherwise, Namecheap has allowed many of the domain names to
                                                                                                         7   expire or be transferred away from Namecheap and out of the Court’s control. Moreover,
                                                                                                         8   Namecheap has lodged with the Court numerous domain names that are not at issue in this
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                                                                                                         9   case. In addition, on March 4, 2021, Namecheap announced it will transfer all domain
                                                                                                                                                                           1
                                                                                                        10   names that use Defendant Whoisguard, Inc. (“Whoisguard”) to a new entity in Iceland,
                                                                                                        11   Withheld for Privacy, in violation of Namecheap’s certifications to the Court that it would
                                                                                                        12   prevent transfers of the lodged domain names.
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                                                                                                        13          This Motion is based on the following facts:
                                                                                                        14          1.     On January 15, 2021, Namecheap tendered to the Court a Registrar’s
                                                                                                        15   Certificate listing 1,150 domain names at issue in this case. (ECF No. 71 & Ex. A.)
                                                                                                        16          2.     On February 22, 2021, Namecheap tendered to the Court another Registrar’s
                                                                                                                                                                      2
                                                                                                        17   Certificate listing 356 domain names at issue in this case. (ECF No. 81 & Ex. A.)
                                                                                                        18          3.     In paragraph 3 of each of the Registrar’s Certificates, Namecheap’s COO
                                                                                                        19 declared that “Namecheap has placed the Domain Names on registrar lock, thus preventing

                                                                                                        20 the Domain Names from being transferred, modified, or otherwise managed or

                                                                                                        21 manipulated.” (ECF Nos. 71 at ¶3, No. 81 at ¶3.)

                                                                                                        22          4.     In paragraph 4 of the Registrar’s Certificates, Namecheap’s COO declared
                                                                                                        23 that “Namecheap will not modify the status of the Domain Names unless and until

                                                                                                        24
                                                                                                           1 All of the lodged Domain Names are registered by Whoisguard.
                                                                                                        25
                                                                                                           2 The Registrar’s Certificate included three domain names, instagfam.com,
                                                                                                        26 faceb0okk.com, and download-instagram.com, that were also included on the

                                                                                                        27 January 15, 2021 Registrar’s Certificate. In total, 1503 domain names have purportedly
                                                                                                           been placed under the dominion and control of the Court by Namecheap (collectively, the
                                                                                                        28 “Domain Names” or “lodged Domain Names”).

                                                                                                                                                       2
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                                                                                                         1   instructed to do so by Order of the Court in the instant case.” (ECF No. 71 & ECF No 81.)
                                                                                                         2         5.     In paragraph 5 of each of the Registrar’s Certificates, Namecheap’s COO
                                                                                                         3 declared that “the Domain Names should be construed to be under the dominion and

                                                                                                         4 control of the Court until such time as Namecheap receives further instruction with regard

                                                                                                         5 to the Domain Names.” (ECF No. 71 at ¶5, ECF No. 81 at ¶5.)

                                                                                                         6         Expiring Domain Names Improperly Released from the Court’s Control.
                                                                                                         7 Contrary to the declaration of Namecheap’s COO sworn under penalty of perjury,

                                                                                                         8 Namecheap has allowed and continues to allow the lodged Domain Names’ registrations
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                                                                                                         9 to expire, thus releasing the lodged Domain Names from the Court’s control and allowing

                                                                                                        10 third parties to register and control the lodged Domain Names. At least 39 of the lodged

                                                                                                        11 Domain Names, which Namecheap has certified are under the Court’s control, have

                                                                                                        12 expired. (Declaration of David J. Steele (“Steele Decl.”) ¶ 2 & Ex. 1.). Additional lodged
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                                                                                                        13 Domain Names that Namecheap allowed to expire have now been registered at other

                                                                                                        14 registrars. For example, Namecheap purported to lodge the Domain Name fecbooks.com

                                                                                                        15 with the Court on January 15, 2021. (ECF No. 71 & Ex. A. at #540) Yet, Namecheap

                                                                                                        16 allowed fecbooks.com to expire, and it was newly registered by a third-party on

                                                                                                        17 March 14, 2021 (the WHOIS record lists an address in Vancouver, Canada using the

                                                                                                        18 registrar PSI-USA, Inc.). (Steele Decl. ¶ 3 & Ex. 2.) At least one lodged Domain Name,

                                                                                                        19 spywhatsapp.live,     which Namecheap purported to lodge with the Court on
                                                                                                        20 January 15, 2021 (ECF No. 71 & Ex. A. at #686) was transferred away from Namecheap

                                                                                                        21 to a registrar in Germany. (Steele Decl. ¶ 4 & Ex. 3.)

                                                                                                        22         Additionally, some lodged Domain Names had actually expired even before
                                                                                                        23 Namecheap certified that the domain name was under the Court’s control. For example,

                                                                                                        24 the lodged Domain Name instagramignite.com, which Namecheap certified as under the

                                                                                                        25 Court’s control on February 22, 2021, had already expired and been newly registered at

                                                                                                        26 GoDaddy. (ECF No. 81 & Ex. A. at #275, Steele Decl. ¶ 5 & Ex. 4.).

                                                                                                        27         Importantly, at least as many as fifty lodged Domain Names are currently pending
                                                                                                        28 deletion because Namecheap has not properly maintained the Domain Name in accord with

                                                                                                                                                      3
                                                                                                              Case 2:20-cv-00470-GMS Document 88 Filed 03/23/21 Page 4 of 8



                                                                                                         1   its certifications. (Steele Decl. ¶ 6 & Ex. 5.) Making matters worse, Namecheap has set the
                                                                                                         2   registrar lock for “clientRenewProhibited” thereby preventing renewals (except by
                                                                                                         3   Namecheap directly), while it ignores the expiration of the lodged Domain Names. The
                                                                                                         4 remaining lodged Domain Names registered with Namecheap are all set to expire when

                                                                                                         5 their current registration terms end, which means they will similarly leave this Court’s

                                                                                                         6 control—contrary to the representations made by Namecheap in the Registrar’s Certificates

                                                                                                         7 lodged with the Court. Without a further order from the Court, all of the lodged Domain

                                                                                                         8 Names will expire and be released from the Court’s control.
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                                                                                                         9           Plaintiffs raised these expiration issues with Namecheap during a telephonic meet
                                                                                                        10 and confer conference, and again by email. (Steele Decl. ¶ 7.) Plaintiffs also prepared a

                                                                                                        11 proposed stipulation that would properly lock the lodged Domain Names to prevent further

                                                                                                        12 deletion. However, Defendants would not agree to the proposed stipulation, explaining:
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                                                                                                        13           Please note that while Namecheap can set a status code prohibiting the
                                                                                                        14           customer from deleting a domain, Namecheap bears no responsibility for
                                                                                                        15           tracking expiration or paying for renewal of domains during the lock period.
                                                                                                        16           If a locked domain is expiring and Plaintiffs wish to prevent it from being
                                                                                                        17           deleted, Plaintiffs can open an account with Namecheap and deposit the
                                                                                                        18           money required to renew the domain.
                                                                                                        19 Id. Namecheap’s certification, that “the Domain Names should be construed to be under

                                                                                                        20 the dominion and control of the Court,” did not include an unwritten (and improper)

                                                                                                        21 proviso, “so long as Plaintiffs’ pay Namecheap’s fees.” (ECF No. 71 at ¶5 & ECF No. 81

                                                                                                        22 at ¶5.)

                                                                                                        23           Contrary to Namecheap’s assurances and the declaration of Namecheap’s COO, the
                                                                                                        24 lodged Domain Names are not under this Court’s dominion and control; many have already

                                                                                                        25 expired or been transferred away, and many more are set to expire with each passing day.

                                                                                                        26 Yet Namecheap asserts that it is fully compliant with the assurances it provided in the

                                                                                                        27 Registrar’s Certificates lodged with the Court.

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                                                                                                         1          Lodging of Domain Names Not At Issue In Case. Namecheap has lodged with the
                                                                                                         2 Court numerous Domain Names that are not in the First Amended Complaint (“FAC”) or
                                                                                                                                  3
                                                                                                         3 at issue in this case. (ECF No. 56). Some of these lodged Domain Names are unrelated to

                                                                                                         4   Plaintiffs altogether, and others, while related to Plaintiffs, are not at issue in this case. For
                                                                                                         5   example, Namecheap lodged the Domain Name singaporepools.online with the Court in
                                                                                                         6   its Registrar Certificate filed January 15, 2021. (ECF No. 71 & Ex. A. at #969) This
                                                                                                         7   lodged Domain Name is not at issue in this case. The Domain Name was included in an
                                                                                                         8   exhibit to the complaints as an example of some of Defendants’ registered domain names
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                                                                                                         9   that were the subject of administrative proceedings (along with countless other domain
                                                                                                        10   names that were not lodged with the Court). (ECF No. 1-10, at pg. 6 of 7 & ECF No. 56-6,
                                                                                                        11   at pg. 103 of 110) Singapore Pools (Private) Limited filed a complaint against Defendant
                                                                                                                                                                                                        4
                                                                                                        12   Whoisguard in March 2018, and recovered singaporepools.onine in that matter. It is
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                                                                                                        13   unclear why Namecheap lodged this Domain Name and not others from the same exhibit,
                                                                                                        14   but regardless, this Domain Name was improperly lodged with the Court by Namecheap.
                                                                                                        15          Namecheap has also lodged domain names not listed in the FAC simply because
                                                                                                        16   Plaintiffs’ counsel contacted Defendants’ counsel regarding claims of infringement or
                                                                                                        17   cybersquatting. For example, one of Plaintiffs’ related entities, Facebook Technologies,
                                                                                                        18   LLC (f/k/a Oculus VR, LLC) owns the mark OCULUS, but that entity is not a party to this
                                                                                                        19   action nor has the OCULUS mark even been asserted in this case. Notwithstanding that
                                                                                                        20   this case does not involve the OCULUS mark, Namecheap lodged the Domain Names
                                                                                                        21   vroculus.store and oculusvrshop.site (among others) with the Court in its Registrar
                                                                                                        22   Certificate filed January 15, 2021. (ECF No. 71 & Ex. A. at #408 & #788) Similarly,
                                                                                                        23   Namecheap has also lodged numerous other domain names simply because Plaintiffs’
                                                                                                        24
                                                                                                           3 Plaintiffs reserve the right to seek leave from the Court to amend the operative
                                                                                                        25
                                                                                                           complaint based on additional information.
                                                                                                        26 4 When Plaintiffs advised Namecheap’s counsel of this error during the parties’ meet

                                                                                                        27 and confer conference, Namecheap’s counsel refused to correct the error or even raise the
                                                                                                           issue with the Court. Instead, it appears that Namecheap has simply unlocked this domain
                                                                                                        28 name without advising the Court.

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                                                                                                         1   counsel contacted Defendants’ counsel regarding claims of infringement or cybersquatting
                                                                                                         2   related to domain names not in the FAC or at issue in this case. Because of Namecheap’s
                                                                                                         3   erroneous lodging of these Domain Names, Plaintiffs’ enforcement efforts have been
                                                                                                         4   impeded. For example, after Namecheap unilaterally lodged these Domain Names with the
                                                                                                         5   Court, now Namecheap cannot implement administrative decisions ordering these Domain
                                                                                                                                                5
                                                                                                         6   Names transferred to Plaintiffs.
                                                                                                         7          Announced Transfer of Lodged Domain Names. On March 4, 2021, Namecheap
                                                                                                         8   announced that it intends to transfer the registration of all the lodged Domain Names from
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                                                                                                         9 Whoisguard to a new entity, Withheld for Privacy based in Iceland. (Steele Decl. ¶ 8.)

                                                                                                        10 Executing these transfers as Namecheap has announced without the Court’s permission

                                                                                                        11 would violate its certification to the Court that the lodged Domain Names were prevented

                                                                                                        12 from being transferred. (See ECF No. 71 at 4 & ECF No 81 at 4.)
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                                                                                                        13          Request for Relief. Plaintiffs attempted to resolve, without Court intervention,
                                                                                                        14 Namecheap’s failures to lock and prevent the transfer of lodged Domain Names, and

                                                                                                        15 Namecheap’s lodging of Domain Names not at issue in this case; however, Namecheap

                                                                                                        16 refused to take the simple steps necessary to correct its errors. Moreover, by announcing

                                                                                                        17 the transfer of the lodged Domain Names from Whoisguard to Withheld for Privacy,

                                                                                                        18 Namecheap has taken affirmative steps to violate its representations to the Court.

                                                                                                        19          Therefore, Plaintiffs respectfully request that the Court enter an order to enforce and
                                                                                                        20 correct the lodging of the Registrar’s Certificates filed January 15, 2021, and

                                                                                                        21 February 22, 2021, by ordering that Namecheap:

                                                                                                        22          1. Promptly prepare and lodge with the Court a Corrected Registrar’s Certificate
                                                                                                        23             listing only those domain names listed in the First Amended Complaint
                                                                                                        24             (ECF No. 56);
                                                                                                        25

                                                                                                        26 5 These decisions are typically rendered in accord with ICANN’s Uniform Domain
                                                                                                        27 Name Dispute Resolution Policy. Namecheap’s counsel recently suggested the Parties
                                                                                                           cure this problem by filing stipulations with the Court to permit the transfer of Domain
                                                                                                        28 Names that Namecheap shouldn’t have lodged in the first place.

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                                                                                                         1          2. Take all steps necessary, at Namecheap’s own expense, to prevent any lodged
                                                                                                         2             Domain Name identified in the Corrected Registrar’s Certificate lodged with the
                                                                                                         3             Court from expiring;
                                                                                                         4          3. Set the following registrar client status codes6 for each Domain Name identified
                                                                                                         5             in the Corrected Registrar’s Certificate lodged with the Court:
                                                                                                         6                 a. clientDeleteProhibited,
                                                                                                         7                 b. clientTransferProhibited, and
                                                                                                         8                 c. clientUpdateProhibited;
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                                                                                                         9          4. Serve a copy of the Court’s Order on the registry operator for each of the lodged
                                                                                                        10             Domain Names and collaborate with the registry operator to ensure the following
                                                                                                        11             server status codes for each Domain Name identified in the Corrected Registrar’s
                                                                                                        12             Certificate lodged with the Court are set as follows:
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                                                                                                        13                 a. serverDeleteProhibited,
                                                                                                        14                 b. serverTransferProhibited, and
                                                                                                        15                 c. serverUpdateProhibited;
                                                                                                        16          5. Provide Plaintiffs unrestricted access to query Namecheap’s WHOIS records so
                                                                                                        17             that Plaintiffs may ensure compliance with the Court’s order going forward;
                                                                                                        18          6. For any domain names erroneously lodged with the Court (i.e., domain names
                                                                                                        19             not on Namecheap’s Corrected Registrar’s Certificate), not impede any
                                                                                                        20             administrative case or the implementation of any administrative decision; and
                                                                                                        21

                                                                                                        22
                                                                                                             6 These status codes indicate the status of a domain name registration. Codes that begin
                                                                                                             with “client” are set by the registrar (e.g., Namecheap) and codes that begin with “server”
                                                                                                        23   are set by the registry (e.g., Verisign – for .com domain names). For example, the
                                                                                                        24
                                                                                                             clientDeleteProhibited status will prevent deletion by the registrant of the domain name,
                                                                                                             and the serverDeleteProhibited status will prevent deletion by the registrar. The
                                                                                                        25   clientTransferProhibited and serverTransferProhibited status will prevent the transfer of
                                                                                                             Domain Names. The clientUpdateProhibited and serverUpdateProhibited status will
                                                                                                        26   prevent changes to the Domain Names.
                                                                                                        27
                                                                                                             A more detailed explanation is published by ICANN and is available at:
                                                                                                        28 https://www.icann.org/resources/pages/epp-status-codes-2014-06-16-en.

                                                                                                                                                        7
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                                                                                                         1        7. Pay Plaintiffs’ attorneys’ fees and costs associated with seeking the relief sought
                                                                                                         2           in this Motion.
                                                                                                         3
                                                                                                             DATED: March 23, 2021                  SNELL & WILMER L.L.P.
                                                                                                         4

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                                                                                                        15                                          Facebook, Inc., Instagram, LLC,
                                                                                                                                                    and WhatsApp Inc.
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